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                     UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS


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Plaintiff, Pro-sf	                        )
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v.	                                       )     COMPLAINT
                                          )     (Medical Negligence)
Massachusetts Eye and Ear Infirmary       )
Operating Surgeon: Kenneth Chang, MD.     )
243 Charles Street                        )
Boston MA 02114                           )
                                          )
Defendant                                 )
          Case 1:15-cv-11811-RGS Document 1 Filed 05/11/15 Page 2 of 2




                               Parties and Iurisdiction

1.	 The plaintiff Loi Tan Nguyen resides at 92 Saint Marks Road Apt. #1, Dorchester MA
    02124.
2.	 The defendant Massachusetts Eye and Ear Infirmary is located at 243 Charles Street
    Boston MA 02114.
3.	 This is a medical negligent case concerning a doctor's failure to provide treatment that
    was in line with the "medical standard of care" that has caused damage in Plaintiffs left
    eye.

                                Facts Giving Rise to Claims

4.	 On May 10, 2012, Plaintiff was treated at Massachusetts Eye and Ear Infirmary by Dr.
    Kenneth Chang and Medical Assistants for the cataract extraction with intraocular lens
    placement.
S.	 Cataract removal surgery is an established surgical procedure with excellent outcomes
    in improving vision and removing visual impediments. Cataract surgery is usually
    performed under local anesthesia. However Plaintiff was not given anesthesia prior to
    the surgery.
6.	 During the cataract surgery the patient is usually awake, so any small movement such
    as a cough or simple head adjustment can cause the surgery to fail. Cataract extraction
    involves many steps, and early mishaps at the beginning of the case cascade and make
    the later steps that much more difficult. During the surgery Plaintiffs head was not
    given support to prevent it from movement.
7.	 Dr. Kenneth Chang and Medical Assistants were negligent and violated the standard of
    care in the procedure of cataract surgery.
8.	 Consequently the surgical damage in Plaintiffs left eye was caused by the negligence.
    The damage would not have occurred in the absence of the negligence. The vision of
    Plaintiffs left eye is so poor and almost useless.
9.	 Should the defendant will be found guilty of breaching the duty to patient. Plaintiff
    demands judgment against the defendant for damages as follows:

        - Plaintiff permanent lost vision in the left eye.

        - endured emotional suffering and loss of enjoyment of life

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